           Case 1:21-mj-00071-ZMF Document 5 Filed 01/24/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
          v.                                : Case No.. 21-mj-71 (GMH)
                                            :
ERIC GAVELEK MUNCHEL,                       :
     Defendant.                             :


                                   TRANSPORT ORDER

          Having considered the United States’ Appeal of Release Order and Motion for Stay

Pending Appeal (ECF No. 2) as to defendant Eric Gavelek Munchel, it is hereby

          ORDERED, that the United States Marshals Service transport the defendant forthwith

from the Middle District of Tennessee to the District of Columbia for further proceedings in this

matter.




          DATE: January 24
                        __, 2021
                                            BERYL A. HOWELL
                                            CHIEF JUDGE, UNITED STATES DISTRICT
                                            COURT FOR THE DISTRICT OF COLUMBIA
